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                    Exhibit A
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Reg. No. 5,248,345            YANMAR CO., LTD. (JAPAN CORPORATION)
                              1-9, Tsurunocho, Kita-ku
Registered Jul. 25, 2017      Osaka JAPAN

                              CLASS 7: Generators of electricity with waste heat utilization systems; agricultural machines,
Int. Cl.: 7, 9, 12, 16, 18,   namely, combine harvesters, rice transplanters, binders, mobile threshers, rice hullers, power
21, 25, 28                    tillers, bush cutters, vegetable transplanters; lawnmowers; motors and engines for machines,
                              other than for land vehicles, namely, diesel engines, gasoline engines, engines for marine
Trademark                     vehicles, internal combustion engines not for land vehicles; pumps, namely, pump machines,
                              gas heat pumps; generators of electricity, namely, diesel generators, gasoline generators, gas
Principal Register            engine generators; construction machines and apparatus, namely, excavator, wheel loader,
                              backhoe loaders; loading-unloading machines and apparatus, namely, front end loaders;
                              construction machines and apparatus and loading-unloading machines and apparatus, namely,
                              concrete construction machines, excavators, wheel loaders, power shovels, bulldozers,
                              motorized all-terrain carriers, carriers being conveyor belts; snow plows; submergible
                              automatic cleaners for fish farming nets

                              CLASS 9: Life jackets; Bicycle helmets; safety helmets; sports helmets; safety kneepads for
                              workers; elbow pads for workers; Elbow protection against accidents, namely, elbow pads;
                              Elbow protectors against accidents, namely, elbow pads; Safety boots against accidents;
                              Sunglasses; Safety goggles; sports goggles; safety goggles for protection against dust; Gloves
                              for protection against accidents; work gloves to protect against cold

                              CLASS 12: Motors and engines for land vehicles; Vessels and their structural parts and
                              fittings, namely, pleasure boats, fishing boats; Tractors, including tractors for agriculture,
                              Motorized all-terrain carriers, namely, motorized all-terrain vehicles for carrying agricultural
                              goods and for construction work and forestry work

                              CLASS 16: shopping bags made of paper and shopping bags made of plastic

                              CLASS 18: Bags, namely, camping bags, sports bags, all-purpose carrying bags; Waist
                              pouches; Backpacks

                              CLASS 21: Cotton work gloves; Rubber household gloves

                              CLASS 25: Jackets; Waterproof jackets; Jackets for fishermen; Jackets for fishing; Parkas;
                              Anoraks; Coats; Down coats; Vests; Vests for fishing; Sweaters; Shirts; Dress shirts; Water
                              imps, namely, raincoats; Waterproof yacht parkas; Pants; Fatigue pants; Jump suits;
                              Salopettes; Working clothes for fishermen, namely, working overalls; Leggings; fishing
                              waders; Earmuffs; Aprons; Neck warmers, namely, scarves; Arm warmers; Hats for keeping
                              off the sun light; Caps; Knit hats; Hats; Hats for work; Boots; Rain shoes; Sneakers; Boat
                              shoes; Work boots; Rubber boots; Waterproof boots for fishing; Gloves, namely, gloves to
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               protect against cold, namely, ski gloves; Winter gloves as clothing

               CLASS 28: Bags for fishing, namely, fishing tackle bags; Elbow pads for sports; sports
               kneepads; safety kneepads for sports

               OWNER OF JAPAN REG. NO. 5632623, DATED 11-22-2013, RENEWED AS REG. NO.
               5632623 , EXPIRES 11-22-2023

               OWNER OF JAPAN REG. NO. 5643684, DATED 01-17-2014, RENEWED AS REG. NO.
               5643684 , EXPIRES 01-17-2024

               OWNER OF JAPAN REG. NO. 5643757, DATED 01-17-2014, RENEWED AS REG. NO.
               5643757 , EXPIRES 01-17-2024

               OWNER OF JAPAN REG. NO. 5647958, DATED 02-07-2014, RENEWED AS REG. NO.
               5647958 , EXPIRES 02-07-2024

               OWNER OF JAPAN REG. NO. 5646173, DATED 01-31-2014, RENEWED AS REG. NO.
               5646173 , EXPIRES 01-31-2024

               OWNER OF JAPAN REG. NO. 5646174, DATED 01-31-2014, RENEWED AS REG. NO.
               5646174 , EXPIRES 01-31-2024

               OWNER OF JAPAN REG. NO. 5643756, DATED 01-17-2014, RENEWED AS REG. NO.
               5643756 , EXPIRES 01-17-2024

               The mark consists of a widely angled v-shape or chevron comprised of a thick solid line, with
               two thick solid lines parallel to each arm of the said v-shape thereunder. The letter "Y" is
               formed in the negative space between the shapes.

               SER. NO. 85-877,979, FILED 03-15-2013
               MATTHEW J MCDOWELL, EXAMINING ATTORNEY




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     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
  WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
         DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

     First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
     years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
     registration will continue in force for the remainder of the ten-year period, calculated from the registration
     date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
     for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

     You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
     between every 9th and 10th-year period, calculated from the registration date.*


Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with
the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
(or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
The time periods for filing are based on the U.S. registration date (not the international registration date). The
deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
international registration at the International Bureau of the World Intellectual Property Organization, under
Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at h
ttp://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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